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             IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH
                                     CENTRAL DIVISION




 ROY CESPEDES,
         Petitioner,                                     MEMORANDUM DECISION AND
                                                         ORDER DENYING PETITIONER’S
                                                         MOTION TO VACATE, SET ASIDE,
                                                         OR CORRECT SENTENCE


                vs.


 UNITED STATES OF AMERICA,                               Civil Case No. 2:12-CV-323 TS
         Respondent.                                     Criminal Case No. 2:10-CR-867 TS




        This matter is before the Court on Petitioner’s Motion to Vacate, Set Aside, or Correct

Sentence. For the reasons discussed below, the Court will deny Petitioner’s Motion.

                                       I. BACKGROUND

        On September 22, 2010, Petitioner Roy Cespedes, along with his co-defendant Nelson

Medina, was charged in an Indictment with possession of methamphetamine with the intent to

distribute. Petitioner pleaded guilty on November 8, 2010. On April 4, 2011, Petitioner was

sentenced to the statutory minimum sentence of 120 months, and Judgment was entered the

following day. Petitioner did not pursue direct appeal, but timely filed this Motion on April 2,

2012.

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                                            II. DISCUSSION

        Petitioner raises the following arguments in his Motion: (1) that his conviction cannot

withstand scrutiny under the Tenth Amendment; (2) that he received ineffective assistance of

counsel; and (3) that the statute of conviction is void for vagueness. The government argues that

Petitioner’s first and third claims are barred by the collateral appeal waiver contained in

Petitioner’s plea agreement, and that each claim fails on the merits.

A.      COLLATERAL APPEAL WAIVER

        The Tenth Circuit has established a three-part test to interpret appeal waivers, based upon

contract principles.1 The Court is to consider “(1) whether the disputed appeal falls within the

scope of the waiver of appellate rights; (2) whether the defendant knowingly and voluntarily

waived his appellate rights; and (3) whether enforcing the waiver would result in a miscarriage of

justice.”2 The Tenth Circuit further clarified that a court is to “strictly construe the scope of

appellate waivers and ‘any ambiguities in these agreements are read against the Government and

in favor of a defendant’s appellate rights.’”3 Moreover, the Court is to “hold a defendant to the

terms of a lawful plea agreement.”4 With these principles in mind, the Court proceeds with its

analysis.



        1
         United States v. Hahn, 359 F.3d 1315, 1324-25 (10th Cir. 2004) (en banc) (“[C]ontract
principles govern plea agreements.”).
        2
         United States v. Porter, 405 F.3d 1136, 1142 (10th Cir. 2005) (quoting Hahn, 359 F.3d
at 1325).
        3
            Id. (internal citations and quotations omitted).
        4
            United States v. Atterberry, 144 F.3d 1299 (10th Cir. 1998).

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          1.        Scope of Appeal Waiver

          Petitioner signed a broad waiver of appellate rights, which included the waiver of his

“right to challenge [his] sentence, and the manner in which the sentence is determined, in any

collateral review motion, writ or other procedure, including but not limited to a motion brought

under 28 U.S.C. § 2255.”5

          The Court finds that the language of the plea agreement is clear and unequivocal.

Petitioner waived any right to bring a collateral attack on his sentence, including a motion

brought pursuant to 28 U.S.C. § 2255. However, such a collateral appeal waiver does not

prohibit ineffective assistance of counsel claims challenging the validity of the plea or the

waiver.6 Petitioner’s second claim for ineffective assistance appears to challenge the validity of

his plea. Therefore, the Court finds that it is not barred by the waiver and will be discussed

below. Petitioner’s remaining claims, however, fall within the scope of the broad waiver.

          2.        Knowing and Voluntary Waiver

          The Tenth Circuit has held that it will “only enforce appeal waivers that defendants enter

into knowingly and voluntarily.”7 In determining whether an appellate waiver is knowing and

voluntary, the Court looks to two factors: (1) “whether the language of the plea agreement states




          5
              Case No. 2:10-CR-867 TS, Docket No. 43, at 4.
          6
              United States v. Cockerham, 237 F.3d 1179, 1187 (10th Cir. 2001).
          7
              Hahn, 359 F.3d at 1328 (citing United States v. Elliot, 264 F.3d 1171, 1173 (10th Cir.
2001)).

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that the defendant entered the agreement knowingly and voluntarily,”8 and (2) whether there was

“an adequate Federal Rule of Criminal Procedure 11 colloquy.”9

       The language of the plea agreement clearly states that Petitioner entered into the

agreement knowingly and voluntarily. Further, the Court finds there was an adequate Rule 11

colloquy. Therefore, the Court finds that Petitioner’s collateral appeal wavier was knowing and

voluntary.

       3.         Miscarriage of Justice

       The third prong of the appellate waiver enforcement analysis “requires the court to

determine whether enforcing the waiver will result in a miscarriage of justice.”10

       To prove that enforcement of an appellate waiver would result in a miscarriage of
       justice, a defendant must establish at least one of four circumstances: (1) reliance
       by the court upon an impermissible factor such as race in imposition of the
       sentence; (2) ineffective assistance of counsel in connection with the negotiation
       of the waiver; (3) the sentence exceeds the statutory maximum; or (4) the waiver
       is otherwise unlawful and seriously affects the fairness, integrity, or public
       reputation of judicial proceedings.11

Petitioner bears the burden of establishing a miscarriage of justice.12

       Petitioner does not raise any of these factors in his Motion and there is nothing in the

record to support such a finding. Therefore, the Court finds that enforcing the waiver would not


       8
         Id. at 1325 (citing Elliot, 264 F.3d at 1174 n.1) (“Indeed, the plea agreement, which he
signed, stated that [the defendant] ‘knowingly and voluntarily waive[d] the right’ to appeal.”).
       9
           Id. (internal citations omitted).
       10
            Id. at 1327 (internal citations omitted).
       11
            Porter, 405 F.3d at 1143 (citing Hahn, 359 F.3d at 1327).
       12
            United States v. Anderson, 374 F.3d 955, 959 (10th Cir. 2004).

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result in a miscarriage of justice. As a result, the Court will enforce Petitioner’s waiver as to his

first and third claims.13

B.      INEFFECTIVE ASSISTANCE OF COUNSEL

        Petitioner’s second claim alleges ineffective assistance of counsel. The Supreme Court

has set forth a two-pronged test to guide the Court in making a determination of ineffective

assistance of counsel. “To demonstrate ineffectiveness of counsel, [Petitioner] must generally

show that counsel’s performance fell below an objective standard of reasonableness, and that

counsel’s deficient performance was prejudicial.”14 A Court is to review Petitioner’s ineffective

assistance of counsel claim from the perspective of his counsel at the time he or she rendered the

legal services, not in hindsight.15 In addition, in evaluating counsel’s performance, the focus is

not what is prudent or appropriate, but only what is constitutionally compelled.16 Finally, there is

“a strong presumption that counsel provided effective assistance, and a section 2255 defendant

has the burden of proof to overcome that presumption.”17




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         Even if these claims were not barred by the collateral appeal waiver, the Court would
deny them on the merits. The Tenth Circuit has held that 21 U.S.C. § 841(a)(1) is a valid
exercise of Congress’ power under the Commerce Clause. United States v. Wacker, 72 F.3d
1453, 1475 (10th Cir. 1995). Further, the statute is not unconstitutionally vague as applied to
Petitioner. See United States v. Lovern, 590 F.3d 1095, 1103 (10th Cir. 2009).
        14
       United States v. Lopez, 100 F.3d 113, 117 (10th Cir. 1996) (citing Strickland v.
Washington, 466 U.S. 668, 687, 690 (1984)).
        15
             Hickman v. Spears, 160 F.3d 1269, 1273 (10th Cir. 1998).
        16
             United States v. Cronic, 466 U.S. 648, 665 n.38 (1984).
        17
             United States v. Kennedy, 225 F.3d 1187, 1197 (10th Cir. 2002).

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       Petitioner argues that he received ineffective assistance because his attorney coerced him

into pleading guilty by misleading him on the potential penalties Petitioner faced at sentencing.

Petitioner, however, offers only conclusory statements to support his claim. Petitioner’s

arguments are belied by the record, which clearly shows that Petitioner was advised of the

potential penalties and that he understood those penalties. Thus, Petitioner has not met his

burden to overcome the strong presumption that counsel provided effective assistance.

Therefore, the Court must reject this argument.

                                        III. CONCLUSION

       Based upon the above, it is hereby

       ORDERED that Petitioner’s § 2255 Motion (Docket No. 1 in Case No. 2:12-CV-323 TS)

is DENIED for the reasons set forth above. It is further

       ORDERED that, pursuant to Rule 8(a) of the Rules Governing § 2255 Cases, an

evidentiary hearing is not required. It is further

       ORDERED that pursuant to Rule 11(a) of the Rules Governing § 2255 Cases, the Court

DENIES Petitioner a certificate of appealability.

       The Clerk of Court is directed to close Case No. 2:12-CV-323 TS forthwith.

       DATED January 15, 2013.

                                               BY THE COURT:


                                               _____________________________________
                                               TED STEWART
                                               United States District Judge




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